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                       IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF HAWAII

 KELI’I AKINA, et al.,                                         B Case 1:15-CV-00322-JMS-BMK
                                                                .
               Plaintiffs,                                      .
                                                                . MEMORANDUM IN SUPPORT OF MOTION
                            v.                                C
                                                                .
 STATE OF HAWAII, et al.,                                       .
                                                                .
                                                                .
                                                              D
            Defendants.


                               MEMORANDUM IN SUPPORT OF MOTION

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        I. HISTORICAL BACKGROUND FROM INTERVENORS PERSPECTIVE

       In 1778, upon arrival of James Cook in the Sandwich Islands the native

 Hawaiian population exceeded 300,000. Wright, Theon, The Disenchanted Isles, The

 Dial Press, New York (1972) p. 68. It is generally accepted that there was then in

 existence a feudal type of land ownership system, in which all of the land was owned

 by the King and granted by him to his chiefs, known as konohikis, and, in turn, by

 them to lower level chieftans and eventually the tenant farmers. See Chinen, Jon

 Jitsuzo, “Original Land Titles in Hawaii”, Library of Congress No. 51- 17314 (1961),

 p. 1; Cannelora, Louis, “The Origin of Hawaii Land Titles and the Rights of Native

 Tenants,” Security Title Corp., Honolulu, Hawaii (1974), p. 1.

       Even then it could not be considered a true feudal system, as native tenants

 were not serfs with no interest in the land. Instead, Hawaiian native tenants, as a

 group, had an undivided one-third interest in the total land mass of the Hawaiian

 Islands and surrounding waters. This was recognized in the first constitution of the

 Kingdom of Hawaii adopted in 1840. As provide therein:

       Kamehameha I, was the founder of the kingdom, and to him belonged
       all the land from one end of the Islands to the other, though it was not
       his own private property. It belonged to the chiefs and the people in
       common, of whom Kamehameha I was the head, and had the
       management of landed property.
 State v. Zimring, 58 Haw. 106, 111 (1977) quoting Fundamental Law of Hawaii
 (1904) at 3 quoting The Constitution of 1840.

       This shows that the King held title merely as trustee for the use and benefit of

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 the beneficiaries—the chiefs, konohikis and the people.

       On December 10, 1845, the Board of Commissioners to Quiet Titles,

 commonly known as the Land Commission was established to adjudicate and settle

 disputes over titles of real property. Cannelora, supra, p. 7. It was recognized in the

 Principals of the Land Commission as well as the Privy Counsel that the ownership

 of the land at that time was held in equal one-third undivided interests by the King,

 the konohiki landlords and the tenants living on the land. Cannelora, supra, pp. 10,

 12. See also Thurston v. Bishop, 7 Haw. 421, 430 (1888). These principles are fully

 set out in Revised Laws of Hawaii, 1925, v. II, pp 2120-2152.

       The Land Commission analyzed in detail the land system existing at the time

 in the Islands. It then declared that “there are but three classes of person having

 vested rights in the land, 1st, the government, 2nd, the landlord (the chiefs and

 konohiki), and 3rd, the tenant.” Chinen, Jon Jitsuzo, “The Great Mahele”, University

 of Hawaii Press, (1957), p. 9.

       The problem was that the Land Commission had no means to divide these

 interests, so that fee simple ownership of land could not be obtained unless all of

 these parties joined in the deed. In order to solve this problem the King and konohiki

 divided their lands between themselves in what is known as The Great Mahele. This

 was actually a series of divisions between the King and 245 konohiki made between

 January 27, 1848 and March 7, 1848, which allowed konohiki to take their claims to


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 the Land Commission and obtain title to the land subject to the rights of the native

 tenants. Cannelora, supra, p. 13. Native tenants were not able to obtain title to their

 interests until 1850, when legislation was enacted allowing them to present kuleana

 claims to the Land Commission. Cannelora, supra, 17-19.

       But the law did not favor the granting of such claims. First, native tenants were

 less well educated and less informed than the konohiki class and may not have been

 aware of their right to obtain title or the means to perfect it. Second, native tenants

 were given only a 4 and one-half year period within which to file their claims, after

 which the claims were forever barred. Id. p. 19. The konohiki, on the other hand, were

 given several extensions totaling 49 years to file claims. Id. Third, native tenants were

 required to incur considerable expense of a survey of their claim, while konohiki were

 not. Id. As a result, only approximately 28,000 acres of land—far less than the

 one-third interest that had previously been recognized—was awarded to native

 tenants under this provision. Fuchs, Lawrence H., Hawaii Pono: A Social History,

 Harcourt, Brace & World, Inc., New York (1961) p. 257.

       Thus, this provision purportedly to allow native tenants to obtain fee simple

 title to their land actually operated to extinguish the claims of the vast majority of

 native tenants who failed to go through the process of surveying and registering

 kuleana claims. Title to the land to which they would have been entitled remained

 with the Kingdom of Hawaii and eventually transferred to the United States by the


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 Newlands Resolution.

       When the number of native Hawaiians had plummeted from about 300,000, in

 1778, to only 40,000, in 1920, Congress became aware of the condition of native

 Hawaiians teetering on the verge of extinction. The descendants of the native

 Hawaiian tenants were then barely surviving in abject poverty in the urban centers of

 Hawaii. Following extensive hearings, Congress found that the cause of such dismal

 conditions of native Hawaiians was “a landless people in the country of their

 forefathers.” Sen Doc. No. 151, 75th Cong., 3d Sess, Serial Set 10247 (Jan. 5, 1939),

 pp. 81-83. Landlessness, destitution and poverty: that is the legacy left by the

 Kingdom of Hawaii to the descendants of native Hawaiian tenants. At the same time,

 an undivided, undelivered one-third interest in the 1.8 million acres of government

 land was impressed with the outstanding equitable property interests of native tenants

 who did not receive their lands under the kuleana law.

       Therefore, it was entirely appropriate for Congress to set aside 200,000 acres

 of this land in order to redress this grave injustice suffered by native tenants under the

 Kingdom of Hawaii and attempt to rehabilitate the descendants of the native tenants

 having not less than one-half part Hawaiian blood. It was in 1920, that the United

 States Congress was so moved to enact the Hawaiian Homes Commission Act, 1920,

 (“HHCA”) to rehabilitate the native Hawaiians. Congress enacted the HHCA as



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 compensation to the descendants for the loss their ancestors had suffered in the

 Mahele. This was not a racial discrimination any more than the intestate succession

 laws that limit the right to inherit to the more closely related kin.

       It was the United States Congress that determined long ago in 1920, the

 connection between the dismal condition of the native Hawaiian tenants and their loss

 of their land. It was the United States Congress that went about to repair such

 condition by setting aside a portion of the land the United States held, for the

 exclusive benefit and the purpose of rehabilitating the native Hawaiian tenants and

 their heirs under the HHCA. It was the United States Congress that reasoned that

 rehabilitating the native Hawaiian tenants upon a portion of their formerly

 undistributed lands (that should have been distributed in the Mahele of 1848) would

 allow the native Hawaiians to strive to pick themselves up through hard work, on

 their lands, and thereby rehabilitate themselves with the opportunity under the

 HHCA.

       In 1959, the proponents of statehood persuaded Congress to turn over the

 administration of the Hawaiian Homes program to the State in exchange for the

 imposition of the State-Federal compact in § 4 of the Admission Act and the § 5(f)

 trust for the purpose of the betterment of the condition of native Hawaiians.

       In § 4 of the Admission Act, the State agreed to a solemn compact with the



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  United States that the HHCA would be adopted as a provision of the State

  Constitution. After statehood. But after statehood, the State did little or nothing to

  implement HHCA or the § 5(f) trust until 1978. Final Report on the Public Land

  Trust, Legislative Auditor of the State of Hawaii, Rep. No. 86-17, December 1986;

  A Broken Trust, The Hawaiian Homelands Program: Seventy Years of Failure of the

  Federal and State Governments to Protect the Civil Rights of Native Hawaiians,

  Hawaii Advisory Committee to the U.S. Commission on Civil Rights, December

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  State Task Force, Office of the Inspector General, Audit Report, Rep. No. 92-I-641,

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  Home Lands, Auditor of the State of Hawaii, Rep. No. 93-22, December 1993;

  “Broken Promise: How Everyone Got Hawaiians’ Homelands Except Hawaiians”

  Wall Street Journal, September 9, 1991, p. 1.

        In 1978, as the result of native Hawaiian pressure to implement HHCA and the

  § 5(f) trust, State Constitutional amendments were proposed to establish OHA.

  However, in doing so the seeds of a plan to eventually eliminate HHCA and § 5(f)

  were planted. The proposed amendments included the definition of a term called

  “Hawaiians” as “any descendant of the races inhabiting the Hawaiian Islands, prior

  to 1778” without regard to a blood quantum. This proposed Constitutional definition



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  was not ratified by the voters and did not become part of the Constitution. Kahalekai

  v. Doi, 60 Haw. 324, 342, 590 P.2d 543 (1979). Nevertheless, the term was defined

  and adopted by the legislature as part of the statutory establishment of OHA. H.R.S.

  § 10-2. Ever since its establishment, OHA has been doing its best to eliminate the

  blood quantum. Kealoha v. Machado, 131 Haw. 62, 315 P.3d 213 (2013).

            In 2011, the enactment of H.R.S., Chapter 10H authorizing the establishment

  of the Hawaiian governing entity which is the subject of this litigation was an attempt

  by the State to establish an entity with which it can negotiate to eliminate the HHCA

  and § 5(f). The State plans to offer OHA assets, the Hawaiian homelands and a

  portion of the § 5(f) trust lands (probably including the Island of Kaho’olawe) in

  exchange for a release of any native Hawaiian claims to the remainder of State lands.

  See Exhibit “A.” This would be approved because 90 % of the members of this

  Hawaiian entity would be Hawaiians who are not entitled to benefit from HHCA or

  § 5(f).

                                       II. ARGUMENT

            To intervene as a matter of right under Federal Rule of Civil Procedure, Rule

  24(a)(2) an applicant must timely claim “an interest relating to the property or

  transaction which is the subject of the action,” the protection of which may, as a

  practical matter, be impaired or impeded by the action if the applicant is not allowed



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  to participate in the litigation. Rule 24(a)(2) provides:

        Upon timely application anyone shall be permitted to intervene in an
        action: . . . (2) when the applicant claims an interest relating to the
        property or transaction which is the subject of the action and the
        applicant is so situated that the disposition of the action may as a
        practical matter impair or impede the applicant’s ability to protect that
        interest, unless the applicant’s interest is adequately represented by
        existing parties.

        The Ninth Circuit applies a four-prong test to determine if an applicant has a

  right to intervene: (1) the motion must be timely; (2) the applicant must claim a

  “significantly protectable” interest relating to the property or transaction which is the

  subject of the action; (3) the applicant must be so situated that the disposition of the

  action may, as a practical matter, impair or impede its ability to protect that interest;

  and (4) the applicant’s interest must be inadequately represented by the parties to the

  action. Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003).

        Generally, “Rule 24(a)(2) is construed broadly in favor of proposed

  intervenors.” United States ex rel McGough v. Covington Tech. Co., 967 F.2d 1391,

  1394 (9th Cir.1992). The “liberal policy in favor of intervention serves both efficient

  resolution of issues and broadened access to the courts.” United States v. City of Los

  Angeles, 288 F.3d 391, 397-98 (9th Cir.2002) (citation omitted).

        By allowing parties with a practical interest in the outcome of a
        particular case to intervene, we often prevent or simplify future litigation
        involving related issues; at the same time, we allow an additional
        interested party to express its views before the court.

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  Id. at 398 (citation omitted).

  A.    Timeliness.

        The complaint was filed herein on August 13, 2015. A motion for preliminary

  injunction was filed by Plaintiffs on August 28, 2015. A status conference was held

  on September 11, 2015 at which a hearing on the motion for preliminary injunction

  was set for October 20, 2015, any opposition to the motion was to be filed by

  September 30, 2015 and any reply by October 9, 2015.

        State and OHA defendants filed their answers on September 10, 2015.

  Foundation defendants filed their answer on September 14, 2015.

        This motion is timely.

  B.    Interest of Intervenors.

        Samuel L. Kealoha, Jr., is a U.S. Army Vietnam-Era veteran who served in

  Vietnam, 1st Cav. 2-5. He is a Hawaiian homestead applicant, who has been on the

  waiting list since 1977. The reason the State has failed to deliver his homestead is the

  State “lost” his application. Mr. Kealoha’s interest is his concern that the parties here,

  both the State and its OHA, are not speaking on behalf of native Hawaiian

  beneficiaries. “They are talking over us. The scheme of undermining the native

  Hawaiians’ interest in § 5(f) and it being subject to corruption has gone on too long.

  The State came up with this charade of OHA, and the U.S. has not brought suit



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  against the State for breach of trust under § 5(f). The United States should know the

  difference between Congress’ definition of native Hawaiian of 1920, (that the state

  solemnly accepted in 1959,) versus the State’s made-up definition of ‘Hawaiian’ in

  1978, when it manufactured the OHA scheme created to undermine growing native

  Hawaiian interests in § 5(f).”

        Mr. Kealoha is also a former OHA trustee, and can provide this Court a unique

  vantage point from a native Hawaiian who, as Trustee, was too often out-voted by

  “Hawaiian” trustees (hostile to native Hawaiians), who sought to benefit themselves

  and this diluted class of “Hawaiians,” including their friends, relatives and others who

  are not native Hawaiian, with lucrative contracts. Mr. Kealoha witnessed the State’s

  OHA agency misspend § 5(f) proceeds that could have been used to fund the HHCA.

        Virgil E. Day, Jr., is a U.S. Army Vietnam-Era veteran, who applied for a

  Hawaiian homestead in 1984, yet did not receive his lease until 1999, because the

  State claimed they had no money for infrastructure. Now a lessee, yet holding an

  unimproved lot with no paved road and no running water, at Kahiki Nui, island of

  Maui. Mr. Day is a member of Ka Ohana o Kahiki Nui, a homestead beneficiary

  organization seeking settlement of Kahiki Nui. Ka Ohana o Kahiki Nui applied to

  OHA for a grant for water tanks, but OHA refused to expend any § 5(f) money to

  assist the beneficiaries.



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        Patrick Kahawaiolaa, is a U.S. Navy Vietnam-Era veteran who, as a native

  Hawaiian, was born and raised on the Keaukaha Hawaiian homestead, serving in

  various capacities, the latest as President of the Keaukaha Hawaiian Homestead

  Association for approximately the last six (6) years. Keaukaha, on the Big Island of

  Hawaii, opened in1924, the second Hawaiian homestead, following Kalamaula, on

  the island of Molokai. Mr. Kahawaiolaa has been a party in a number of suits against

  the State of Hawaii, its Department of Hawaiian Home Lands (“DHHL”) and OHA.

  His main interest is full implementation of the HHCA, rehabilitation and

  self-determination of native Hawaiians, use of § 5(f) monies to benefit native

  Hawaiians and to settle the homelands. Mr. Kahawaiolaa also has been a party in

  opposing HHCA § 221 violations, dealing with burdensome water costs sought to be

  charged to homesteaders by the state’s counties, in clear violation of the HHCA. Mr.

  Kahawaiolaa lost his homestead over this fight. Mr. Kahawaiolaa also opposed

  removal of Hawaiian home lands from the inventory of lands available to native

  Hawaiian settlement, as the State of Hawaii continues, to this day, to lease such lands

  to persons, parties and entities not contemplated by the HHCA. The State does so

  under pretext it has no money, while funneling millions to OHA that, in turn, does not

  expend such §5(f) monies on beneficiaries of the HHCA to settle their lands.

        Josiah L. Hoohuli, is a U.S.M.C. Veteran. A pure blood native Hawaiian, and



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  homestead lessee, he was raised on his mother’s homestead, who received her lease

  in 1930. Born in 1938, Mr. Hoohuli has lived his entire life on the Hawaiian

  homestead, except for two years in California while in the service, but served two

  years in the USMC in Hawaii, when he resided upon his homestead. Mr. Hoohuli,

  opposed the State of Hawaii creating OHA in 1978, giving OHA § 5(f) monies, while

  OHA does not help fund the HHCA. Mr. Hoohuli believes native Hawaiian

  beneficiaries should be in charge of their own money so that it can be used for native

  Hawaiian economic independence, self-sufficiency and rehabilitation upon the

  homelands. Mr. Hoohuli is a founding member of Ho’ala Kanawai, Inc, that was

  formed in about 1975, and is significant because it was an educational agency

  charged to educate native Hawaiians about § 5(f) of the Admission Act, and also be

  the entity for native Hawaiians.

        Melvin Hoomanawanui, is retired from the Honolulu Fire Department, and a

  homesteader of Lai o Pua Hawaiian homestead, Kona, island of Hawaii. Mr.

  Hoomanawanui joined Ho’ala Kanawai, Inc., in 1978. Mr. Hoomanawanui has always

  been an advocate for bona-fide native Hawaiians. He vehemently opposes the State

  funneling § 5(f) monies to its agency, OHA, and OHA misusing, misspending and

  cheating native Hawaiians out of monies that should be used to fund the HHCA, or

  otherwise rehabilitate native Hawaiians.



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        Proposed Intervenors seek to intervene in this action as Defendants to assert

  a cross-claim against the other Defendants to challenge the State’s authority to

  establish a “Sovereign Hawaiian Entity” without a blood quantum limited to not less

  than one-half part of the blood of the races inhabiting the Hawaiian Islands prior to

  1778. See Exhibit “B” attached. Intervenors would allege that the creation of such

  entity to represent native Hawaiians without a blood quantum is a violation of their

  right to Equal Protection and that expenditure of § 5(f) income and proceeds to do so

  is a violation of the § 5(f) trust. Indeed, it would appear that the State intends to

  transfer Hawaiian home lands to the Entity, no doubt in exchange for a release of the

  State from any further duty to implement HHCA under the § 4 Admission Act

  compact. See Exhibit “A” attached.

        Intervenors attempted to raise a similar Equal Protection claim in Arakaki v.

  Cayetano, supra, and Kahawaiolaa v. Norton, 386 F.3d 1271 (9th Cir. 2004). In

  Norton, Intervenors were claiming that they were denied equal protection under the

  Fifth Amendment by the United States in depriving them of the right to organize as

  an Indian tribe. The Ninth Circuit held that “native Hawaiian” was not a racial

  classification but rather a political classification. The facts that the United States had

  never dealt directly with native Hawaiians, but rather with the Kingdom of Hawaii,

  which was not a native tribe and that Congress had provided benefits to native



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  Hawaiians under HHCA and § 5(f) of the Admission Act, was a sufficient rational

  basis to justify the discrimination.

        However, the Ninth Circuit severely criticized the Department of the Interior

  for neglecting native Hawaiians, as follows:

       Although we conclude that the Department of Interior’s exclusion of
       Hawaiians passes constitutional muster, we recognize that, in many
       ways, the result is less than satisfactory. We would have more
       confidence in the outcome if the Department of Interior had applied its
       expertise to parse through history and determine whether native
       Hawaiians, or some native Hawaiian groups, could be acknowledged on
       a government-to-government basis. It would have been equally rational,
       if perhaps not more so, for the Department to have decided to undertake
       that inquiry in the first instance. However, under equal protection
       rational basis review, it is not for us “to judge the wisdom, fairness, or
       logic” of the choices made. Heller, 509 U.S. at 319, 113 S.Ct. 2637
       (quoting FCC v. Beach Communications, Inc., 508 U.S. 307, 313, 113
       S.Ct. 2096, 124 L.Ed.2d 211 (1993)). Thus, in the end, we must commit
       this question to Congress to apply its wisdom in deciding whether or not
       native Hawaiians should be included among those eligible to apply for
       federal tribal recognition.
  Kahawaiolaa v. Norton, supra, 386 F.3d at 1283.

        Of course, the State of Hawaii and OHA have for many years attempted

  without success to persuade Congress to establish a government-to-government

  relationship with Hawaiians (without any blood quantum) through the so-called

  Akaka Bill. Having failed in this effort, the State is now attempting to create its own

  government-to-government relationship with Hawaiians (without any blood

  quantum).



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        However the lack of any blood quantum as a qualification for voting and

  membership in this State created Hawaiian governmental entity is a violation of

  Intervenors’ right to equal protection under the Fourteenth Amendment to the U.S.

  Constitution.

        All other native Americans have the right under federal law to determine for

  themselves the qualifications for membership in their tribal entities. In order to apply

  for tribal recognition under the Indian Reorganization Act, “Indian” is defined as

  follows:

        The term “Indian” as used in this Act shall include all persons of Indian
        descent who are members of any recognized Indian tribe now under
        Federal jurisdiction, and all persons who are descendants of such
        members who were, on June 1, 1934, residing within the present
        boundaries of any Indian reservation, and shall further include all other
        persons of one-half or more Indian blood. For the purposes of this Act,
        Eskimos and other aboriginal peoples of Alaska shall be considered
        Indians. The term “tribe” wherever used in this Act shall be construed
        to refer to any Indian tribe, organized band, pueblo, or the Indians
        residing on one reservation. The words “adult Indians” wherever used
        in this Act shall be construed to refer to Indians who have attained the
        age of twenty-one years.
  25 U.S.C. § 479.

        Since persons applying for recognition as an Indian tribe are, by definition, not

  members of a recognized Indian tribe, the only Indians who can apply for recognition

  are “persons of one-half or more Indian blood.” This is the exact same blood quantum

  as the “not less than one-half part of the blood” definition of “native Hawaiian” which



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  the State ignores in the establishment of this “Hawaiian” governmental entity. This

  discrimination is a violation of Intervenors’ right of equal protection as protected by

  the Fourteenth Amendment to the U.S. Constitution. It is this right to equal protection

  that Intervenors’ seek to assert. There is no compelling governmental interest for this

  discrimination nor even a rational basis for it.

        In Rice v. Cayetano, Rice v. Cayetano, 528 U.S. 495 (2000), the State

  attempted to justify the restriction of voting rights for OHA Trustees to Hawaiians

  (without a blood quantum) was justified by analogy to Indian tribes under Morton v.

  Mancari, 417 U.S. 535 (1974). The Supreme Court rejected this argument holding

  that OHA Trustees are state officials not of a quasi-sovereign native American

  governing entity. Rice v. Cayetano, supra, 528 U.S. at 520. Justices Breyer and

  Souter in a separate concurring opinion would have rejected the Indian analogy

  argument based on the fact that the lack of a blood quantum in the voting

  requirements for OHA did not resemble an Indian tribe:

        As importantly, the statute defines the electorate in a way that is not
        analogous to membership in an Indian tribe. Native Hawaiians,
        considered as a group, may be analogous to tribes of other Native
        Americans. But the statute does not limit the electorate to native
        Hawaiians. Rather it adds to approximately 80,000 native Hawaiians
        about 130,000 additional “Hawaiians,” defined as including anyone with
        one ancestor who lived in Hawaii prior to 1778, thereby including
        individuals who are less than one five-hundredth original Hawaiian
        (assuming nine generations between 1778 and the present). See Native
        Hawaiian Data Book 39 (1998). Approximately 10% to 15% of OHA’s

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         funds are spent specifically to benefit this latter group, see Annual
         Report 38, which now constitutes about 60% of the OHA electorate.
                                        * * *
        Of course, a Native American tribe has broad authority to define its
        membership. See Santa Clara Pueblo v. Martinez, 436 U.S. 49, 72, n. 32
        (1978). There must, however, be some limit on what is reasonable, at the
        least when a State (which is not itself a tribe) creates the definition. And
        to define that membership in terms of 1 possible ancestor out of 500,
        thereby creating a vast and unknowable body of potential members —
        leaving some combination of luck and interest to determine which
        potential members become actual voters — goes well beyond any
        reasonable limit. It was not a tribe, but rather the State of Hawaii, that
        created this definition; and, as I have pointed out, it is not like any actual
        membership classification created by any actual tribe.
  Rice v. Cayetano, supra, at 526-7 [Breyer, J., Concurring].

         In this case, Intervenors would be claiming that the Hawaiian governmental

  entity, lacking a blood quantum, violates their Equal Protection rights under the

  Fourteenth Amendment and expenditures of OHA funds in support of such entity

  illegal entity is a breach of the § 5(f) trust.

         In Arakaki v. Cayetano, supra, Intervenors attempted to intervene to assert a

  similar equal protection claim as that asserted in Norton. In Arakaki, the Plaintiffs

  were seeking to invalidate HHCA and § 5(f) as a denial of their right to equal

  protection and to enjoin the State from using taxpayer monies to support the HHCA

  and OHA programs. The District Court ruled that the Plaintiffs did not have standing

  to challenge the validity of HHCA or § 5(f).

         The District Court and Court of Appeals both ruled that Intervenors had a


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  significantly protectable interest to allow intervention. Id., at 1085-6.

  C.    Imparement of Interest.

        In Arakaki the District Court and Court of Appeals ruled that Intervenors’

  interest in receiving benefits under HHCA and § 5(f) might have been impaired as the

  result of Plaintiffs’ claims. Id., at 1086. Similarly, in this case, Intervenors’ interest

  in receiving benefits under § 5(f) will be impaired by the expenditure of § 5(f) funds

  on an election that is illegal and violates their Equal Protection rights.

        In Arakaki the District Court and Court of Appeals, held that Intervenors Equal

  Protection claims would not be impaired by the claims raised by Plaintiffs and that

  they could very well bring their own suit to assert those rights, which they did in

  Norton. In this case, however, the Equal Protection claim is the basis for the claim

  that the election in which Plaintiffs seek to vote is illegal. Therefore, expenditure of

  § 5(f) funds upon such illegal election will impair Intervenors’ interest therein. The

  Equal Protection claim is intimately intertwined within the breach of trust claim.

  D.    Adequacy of Representation.

        In Arakaki, the Court of Appeals listed the factors to be considered in

  determining the adequacy of representation as follows:

        This Court “follow[s] the guidance of Rule 24 advisory committee notes
        that state that ‘if an absentee would be substantially affected in a
        practical sense by the determination made in an action, he should, as a
        general rule, be entitled to intervene.’” Southwest Center, 268 F.3d at


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        822 (citation omitted). As noted above, Hoohuli’s continued receipt of
        benefits will cease altogether should Plaintiffs prevail. Hoohuli would
        be justified in intervention to protect the continued receipt of benefits if
        it demonstrates that existing parties do not adequately protect its
        interest. Donnelly, 159 F.3d at 409. The burden on proposed intervenors
        in showing inadequate representation is minimal, and would be satisfied
        if they could demonstrate that representation of their interests “may be”
        inadequate. Trbovich v. United Mine Workers, 404 U.S. 528, 538 n. 10,
        92 S.Ct. 630, 30 L.Ed.2d 686 (1972).

       This Court considers three factors in determining the adequacy of
       representation: (1) whether the interest of a present party is such that it
       will undoubtedly make all of a proposed intervenor’s arguments; (2)
       whether the present party is capable and willing to make such
       arguments; and (3) whether a proposed intervenor would offer any
       necessary elements to the proceeding that other parties would neglect.
       California v. Tahoe Reg’l Planning Agency, 792 F.2d 775, 778 (9th Cir.
       1986).
  Arakaki v. Cayetano, supra, at 1086.

        In applying these factors, the Arakaki court concluded that the State of Hawaii

  could adequately represent Intervenors. However, applying these factors to the

  present case makes it clear that none of the existing parties can adequately represent

  Intervenors’ interest. The present parties all want the election to go forward. The only

  contention between the present parties is who should be qualified to vote. Intervenors

  wish to assert the position that the election is illegal and should not be allowed to

  proceed. None of the present parties can adequately represent Intervenors’ position.

  All of the present parties are in opposition to Intervenors’ position.

                                    III. CONCLUSION.

        The Kingdom of Hawaii, which the State wants to recreate with Chapter 10H


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  was a corrupt, puppet government under the control of “western” interests. The

  missionaries came and married and wrote the wills for the Hawaiian princesses to

  gain control of their land. They created phoney trusts supposedly to benefit the native

  Hawaiian community but ran them in their own self interest. They conceived the

  Great Mahele and kuleana law, supposedly to allow native Hawaiians to get title to

  their own land, which operated, in fact, to dispossess and alienate native Hawaiians

  from the aina.

        In the same way, the State of Hawaii wants to create this phoney Hawaiian

  Entity in order to create an entity representing native Hawaiians that will release the

  State from its obligations under HHCA and § 5(f). If the State wants to negotiate or

  otherwise deal with native Hawaiians on a government-to-government basis, it should

  recognize one or more of the groups like Ka Lahui Hawaii that have been formed by

  native Hawaiians themselves, instead of imposing on them a Hawaiian entity without

  a blood quantum with an election in which native Hawaiians who do not support it

  are not allowed to vote.

        Based upon the foregoing authorities and argument, intervention as a matter

  of right is appropriate in this case. The motion to intervene should be granted.

        Dated: Honolulu, Hawaii, September 25, 2015.

                                             /s/ Walter R. Schoettle
                                             WALTER R. SCHOETTLE,
                                             Attorney for Proposed Intervenors


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                         CERTIFICATE OF COMPLIANCE

        The foregoing document contains 5139 words as reported by WordPerfect

  word count function.

        Dated: Honolulu, Hawaii, September 25, 2015.



                                        WALTER R. SCHOETTLE,
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